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                                    STATE OF MICHIGAN

           IN THE PROBATE COURT FOR THE COUNTY OF MUSKEGON
______________________________________________________________________________

IN THE MATTER OF:                                 File No. 11-87628-CA
                                                  File No. 11-87633-GA

MARTHA ANN GRIMM,                         HON. GREGORY C. PITTMAN
      Protected Individual.
____________________________________________________________________________

Martha Ann Grimm                                Harold M. Hermanson (P29727)
Protected Individual (see MCL 700.5407(1);      Attorney for Kirsten Grimm and
700.5306a(1)(s), (v))                           Teresa Stratton
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Muskegon, MI 49441                              Muskegon, Michigan 49440
                                                231-727-8058
Michael G. Walsh (P54678)
Court Appointment Expired 8/29/2011.            Charyn K. Hain (P46931)
In propria persona.                             Robert C. Rutgers, Jr. (P47181)
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Christine Mallory                               616-336-6000
Guardian for Protected Individual
4876 Bluff Road                                 Gregory R. Todd (P70978)
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(231) 894-5241                                  Attorney for PW Services, Inc.
                                                P.O. Box 164
Eric C. Grimm (P58990)                          Grand Haven, MI 49417
ERIC C. GRIMM, PLLC                             (616) 422-5921
Properly-Appointed Conservator
1330 West Summit Avenue
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(734) 717-4900

______________________________________________________________________________

                  AFFIDAVIT OF ERIC GRIMM IN SUPPORT OF
                          PETITION TO DISQUALIFY
_____________________________________________________________________________

          Before the undersigned, personally appeared Eric C. Grimm, who on oath deposes and

states:


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       1.      My name is Eric C. Grimm. I presently reside in Roosevelt Park, Michigan.

       2.      The testimony in this affidavit is based on my first-hand knowledge, or represents

lay or expert opinion on technical, scientific, or other subjects on which I have specialized

expertise, and which opinions would be helpful to the finder of fact.

       3.      I have served for several years as the primary caregiver for Martha Grimm, as

well as her guardian and conservator. I have sought out specialized training from Senior

Resources, in the form of a class called The Savvy Caregiver. Senior resources also has been

helpful in providing a regular support group for caregivers.

       4.      Serving as an elder caregiver, even in the best of circumstances, is enormously

stressful and draining. Dealing with predatory relatives on top of it, makes the challenge even

more extraordinary. And then to add predatory attorneys and “professionals” to the mix, is a

challenge that nobody ever ought to bear.

       5.      I returned to Muskegon in late 2006, because my father was battling lung cancer,

and I knew my mom could not take care of myself.

       6.      Even previously, I relocated from a very high-paying job in Washington D.C., to

Michigan in 1998, because my parents urged me to be closer to home, and because I was

concerned about my mother’s capacity to care for herself. 1998 was the first year that I was

eligible to waive into the Michigan Bar, without taking another bar exam.

       7.      My concerns about my mother’s well-being, and protecting her from harm,

became especially acute when I was serving as a Briefing Attorney for the Texas Supreme Court,

in Austin, Texas. I received a call from my mother, from Virginia, where she had been visiting

my recently-married (for the first time) sister, Teresa. Mom had been kicked out by Teresa, and

could not get back to Michigan. I immediately purchased her a ticket on Amtrak, for a sleeper

car, so that she could return home safely and get some much-needed rest. Other episodes

involving both of Martha’s daughters gave me reason over the years to be gravely concerned


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about whether my mother would be safe and secure, if something ever happened to my father,

the late Hon. Fredric A. Grimm, Jr.

       8.      The biggest stressor in Martha’s life for over 30 years has been worry and

codependency, related to her daughters – who kept trying to shift their problems onto her

shoulders, even though they are adults and ought to behave like it and take responsibility for

their own situations and actions. Both daughters also became very adept at using manipulation

techniques to instigate conflict between my mom and my father – which manipulation kept

things in essentially a perpetual state of uproar, for as long as I can remember – long before I

departed for college in Texas at age 18.

       9.      Removing that stressor from my mother’s life, and creating a drama-free

environment for Martha to exercise her own autonomy, and surrounding her with positive rather

than toxic people, has had a profoundly salubrious effect on Martha’s mental health (she reports

complete relief from over 30 years of anxiety and depression), on her physical health (which has

much improved since she moved in with me – with one setback that coincided with unnecessary

drama instigated by the daughters and Mr. Hermanson, in Probate Court), on her cognition, and

in other ways. Since approximately the time that a brief was filed with the Court of Appeals,

Martha has returned to what appears to be an overall positive trajectory.

       10.     Martha has not lived in my house for over a month, and I presently see her (and

bring Buddy, her dog, to visit) on average between once a day, and once every other day. She is

entirely independent-minded and disagrees with me fairly frequently about matters great and

small (such as, but not limited to, the frequency of her trips to Joann Fabrics); sometimes she

persuades me to change my mind, sometimes we agree to disagree. One thing that has not

changed is her preference that I and not Rachel Cereska should serv as her conservator. She

emphatically wants both Cereska and Mike Walsh out of her life, and to stop exploiting her

financially for the purpose of running up unnecessary and counterproductive professional fees. I


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concur that it would be in her best interest, to afford Martha the autonomy (as requird by statute)

to choose her own conservator.

       11.     When my father passed away in January, 2009, I attempted to persuade my

siblings (Michael and the two girls) to work together as a team, in my mom’s best interest. That

proved impossible, as my sisters attempted to use the same techniques of manipulation,

gaslighting, and drama, that they had been using against my dad for years, in an effort to

persuade my mom (with some success) that I was purportedly a villain who “wants to put you in

Probate, mom” and who “wants to put you in a nursing home.”

       12.     It is only reasonable that – as Kirsten and Teresa (who had a *lot* of time on their

hands, while I was working full time) became more and more manipulative and toxic, that I

would maintain a healthy distance from the situation – while (free of charge to Martha)

performing such functions as making sure that unfiled tax returns were filed, and that she got

current with the IRS, and making sure that a place was available for Martha to have a “safe

landing,” if and when the need arose. In retrospect, that approach proved entirely prudent.

       13.     Within a matter of months after when my father passed away, while visiting with

my mother, I noticed some correspondence to her, that she had opened and read. I am not sure

whether it was forged, or actually came from Barbara Kleaveland. But it purported to come

from Barbara (I don’t know what her handwriting looks like). Attached to the handwritten letter,

was a printout of a “talk” that Barbara had given to a Right to Life group, about a supernatural

experience that Barbara claimed to have had on a trip to Yugoslavia (reportedly, engaging in

telepathic communication with the spirits of three different pregnancies that Barbara had chosen

to terminate). What was really, distressing, however, was the content of the handwritten letter.

The letter, which was addressed to a grieving widow (my mom), attempted to claim that

Barbara, through her active prayer life, had been bestowed with supernatural awareness that my

late father, Judge Grimm was “in Purgatory,” and suffering enormously. But, the good news,


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Barbara reported, is that for a generous payment of money, people Barbara knows are willing to

pray night and day for late Judge Grimm’s swifter passage out of Purgatory, to Paradise. In

retrospect, my reaction at the time (I did not yet fully appreciate the extent of my mother’s

cognitive challenges) was far too subdued. I gently suggested that she not donate any money to

Barbara or her friends, and be wary of Barbara. She tells me she did not donate money in the

way Barbara proposed. In retrospect (especially after serving on the Tri-County Protection

Team for several years), what I now recognize that I ought to have done, is to contact law

enforcement immediately.

       14.    At the criminal trial for Kirsten and Gabriel, defense counsel turned out to be in

possession of a notebook and other papers that were in Martha’s house at the time that we took

out a personal protective order against Gabriel, and for which Martha has been looking for years.

Moreover, when David Bossenbroek was representing Martha, he sent a letter on Martha’s

behalf, to Mr. Hermanson, pointing out that Martha’s papers (including the letter from Barbara

attempting to sell indulgences to Martha – a practice that I thought had ended about the time the

30 Years’ War ended) be returned to Martha. While I took the time to make six boxes of

documents available to Mr. Hermanson for his inspection at Mr. Bossenbroek’s office, Mr.

Hermanson and his clients never responded to the written letter reminding them that the

exchange and return of papers and other things, needed to be mutual.

       15.    Unknown to me, in 2009, 2010, and 2011, Kirsten, Teresa, and Gabriel, were

financially exploiting Martha. This is confirmed, emphatically, by the “forensic audit” report.

After I discovered this, upon seeing Martha’s bank records in April, 2011, I put a halt to the

hemorrhage of money coming out of Martha’s accounts.

       16.    Martha was somewhat more forthcoming when confiding in her psychiatrist, Dr.

Katherine Jawor. In late 2010, Martha reported that her main stressor was “daughters spending

my money.” She did not really disclose the magnitude of the stressor to Dr. Jawor, however.


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       17.     In January, 2011, Martha called me at my office to complain that Gabriel Smith

was writing checks on her account without her permission, and causing her account to overdraw.

I made it clear that this was an unacceptable way to treat an elderly woman who is unable to

protect herself, and I called both the Prosecutor’s Office (Joe Bader) and the Sheriff’s

Department the same day. Although I was assured that an investigation would commence

immediately, the Sheriff’s Department detective bureau instead had a lot of excuses for not

getting started – until I finally put my foot down in April, 2011, and insisted that they step on the

gas. In the time between January, 2011, and April, 2011, both Kirsten and Gabriel were advised

by Martha (because I did not then have contact information for them) that Gabriel should turn

himself in for his criminal activity. Reportedly, this resulted in Gabriel getting very angry, and

Kirsten confronting Martha with the argument that if Gabriel goes to jail, then Kirsten will, too

(presumably, an effort to manipulate Martha into withdrawing the charges out of pity or

sympathy for Kirsten).

       18.     Despite Gabriel and Kirsten both knowing that it was wrong to continue to take

Martha’s money as they had been – in the time from January 2011 to April, 2011, financial

records show that Gabriel and Kirsten did not stop the financial diversions. Instead, they

increased them.    Moreover, Kirsten induced Martha through manipulation to liquidate the

remaining stocks in one of Martha’s investment accounts, and to convert them into treasuries.

Martha’s financial adviser, Sheli Vanderlinde, finally said enough is enough, when Kirsten

attempted to induce Martha to purchase a condominium in Florida for Kirsten (where Kirsten,

evidently, intended to relocate in the hope that Michigan law enforcement would not have the

will to extradite her to Michigan). Martha was a hair’s breadth away from handing the last of

Judge Grimm’s retirement savings over to Kirsten – until it dawned on her that she should have a

mortgage in place, at the least, before trusting Kirsten to make payments on any real estate (as

Kirsten had promised to do, and failed, in relation to land in Leelanau County).


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       19.     Compare the above testimony with the “forensic audit” report (or the bank

records that were available prior to the report, and that contain the same information), and it is

abundantly clear that what I have been saying all along is true and backed up by ample

documentary evidence – while the emphatic denials of Kirsten and Gabriel are nothing more

than gaslighting, because they do not want to take responsibility for their predatory actions.

       20.     It is also perfectly clear from the deflection ideation of Kirsten and Gabriel, and

their continued expressions of an exaggerated sense of entitlement, that if they had the

opportunity to resume the predation of Martha Grimm, they would resume the misconduct in a

heartbeat.

       21.     Teresa Stratton, within the last week, already has started attempting to manipulate

Martha by telling Martha a pity-story, about how Teresa drained the bank account of her son

Matteo, this summer, and how Matteo is not in Teresa’s good graces for not accepting her heroic

efforts to pay her son back for the money Teresa took without permission. Martha has difficulty

spotting this as a set-up by Teresa, in an effort to ask Marth to send more money Teresa’s way

(rather than Teresa fulfilling the promises she repeatedly has made to pay Martha back for the

money Teresa owes Martha).

       22.     Afer I pulled the bank records in April 2011, and learned how much money was

being taken from Martha, one of the attorneys in the Prosecutor’s Office recommended (in May

or June) that I establish a guardianship and conservatorship for Martha.

       23.     I followed this advice, in the reasonable belief that both the Prosecutor’s Office

and the Probate Court were there to help in a time of great need – that they were there to protect

Martha, and help her secure justice and fairness. Not to kick her (and me) while we are already

down, by multiplying the harm, by amplifying the pre-existing predation rather than fixing it.

       24.     Filing these lawsuits was a PLEA FOR HELP – and was entirely reasonble under

the circumstances.    From the beginning, the probate court was truthfully told about the


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extraordinary nature of the circumstances, and the pathological manipulation and deception of

Kirsten, Gabriel, and Teresa.

       25.     It is not unreasonble to expect the probate court to DO ITS JOB (even if that

requires some reading – Heaven forbid) and actually to work for the protection of a Protected

Individual, and to make sure that the Protected Individual gets justice in an expeditious way.

       26.     Instead, starting in 2012, through an active campaign of deception (and the

exercise of political and religious ties to Judge Mullally and others), Barbara Kleaveland and her

son Gabriel, along with Kirsen and Teresa, attempted falsely to portray me as the one draining

Martha’s assets (which rumors the bank records already debunked before the “forensic audit”

even started – but Mike Walsh and Judge Pittman could not even be bothered to look at them).

       27.     In October, 2008, according to court records, Barbara Kleaveland, her parents,

and other relatives took advantage of their political influence, and their “life long friendship”

with Judge Mullally, to persuade Judge Mullally that they (and Gabriel) are “good people”

(presumably meaning, people that publicly profess religious belief, whatever their behaviors may

be – and regardless of whether their behaviors are consistent with ordinary norms of morality).

       28.     Within a matter of days after Judge Mullally recused himself, Mike Walsh (whose

appointment as GAL had expired in August, 2011), jumped back in and decided that he was in

charge, and could overrule decisions of the properly-appointed guardian and conservator. That

was squarely contrary to law. Walsh suddenly made “visitiation” a priority – even though

“visitation,” without both daughters both first being on probation, commencing a repayment

schedule, and getting mental health and substance abuse treatment so as to minimize further

drama, manipulation, and exploitation, clearly was not in Martha’s best interest. Walsh also

attempted to manufacture a forty-five percent discount (compared with a year-old “as is”

appraisal) on Martha’s house in North Muskegon, and to steer the business to a particular real




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estate agent. Eric Grimm was not fooled by this attempt to throw Martha under the bus, and to

magnify the pre-existing predation, either.

       29.     In my experience, medical professionals (Norton Family Practice, Orthopedic

Associates of Muskegon, etc.) and social services (Agewell Services, Senior Resources) have

been extraordinarily helpful and supportive. In contrast, when I venture to the County Building

(and the Probate Court in particular) it is like walking into a Twilight Zone – in which the

objective is the exact opposite of helping those most in need of help, and protection, and justice.

Instead it seems to be all about re-victimizing people like Martha, who already have suffered

grave harm at the hands of the Gabriel Smiths, and Kirsten Grimms of the world. That’s

shameful.

       30.     And the way hearings have been conducted, in particular – with Hermanson and

Walsh being given free reign to vilify me, and to make knowingly untrue statements on the

record, while Judge Pittman multiplies the harm by repeatedly being openly hostile toward me

(so far as I can tell, due to political and religious differences that judges always should have the

self-restraint to set aside in order to provide a fair hearing) – are nothing less than outrageous.

Martha Grimm deserves better. I deserve better. Everyone in Muskegon County deserves a fair,

courteous, non-bullying adjudicator, not obviously biased proceedings.

       31.     In over 20 years in legal practice, I have appeared in trial and appellate courts (as

well as administrative tribunals) in roughly twenty different states and the District of Columbia.

I have seen (and been mentored by) some extraordinarily good judges. And I have seen a few

too many really awful judges. But the Muskegon County Probate Court – and what has gone on

since October 2012 – belongs in a special category all its own. After Judge Mullally recused

himself, things went entirely off the rails, resulting in direct and serious harm to the Protected

Individual, on numerous occasions, and in the flagrant drainig of her estate to pay needless

professional fees to Probate court “insiders.” This is a racket; it is contrary to law and to the


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 intent of the Legislature in passing EPIC. And the racket need to be halted, and the damage

 redressed.

        32.     I was elected on a non-partisan basis to City Council in Roosevelt Park, in 2008,

 for a term ending in 2011. I did not run for office in 2011. After being persuaded by others to

 run again, I was re-elected to the same City Council on an non-partisan basis, in 2012.

        33.     I take very seriously the view that judicial offices in Michigan should not ever be

 partisan, and that judges ought to adhere always to the Rule of Law – even if they happen to

 disagree, personally, or on religious grounds – with particular precedents.

        34.     While a member of City Council, I became aware that the city was discriminating

 in its meeting openings, by not having any other kind of inspirational message or tradition, than

 solely Christian prayer “in the name of Jesus,” meeting after meeting. While in law school, I

 studied the First Amendment (and did quite well in a third-year seminar on this subject – A+),

 and accordingly proposed having a civil and respectful discussion among council members about

 how to include other points of view, on an equal, nondiscriminatory, basis.

        35.     In the ensuing discussion, certain members (Hasper and Lumley) were anything

 but civil – with one member of City Council attempting to poison the conversation by labeling

 me a “Communist.” To be clear, I do not advocate collective ownership of the means of

 production, and I am not and never have been a “Communist,” or a card-carrying member of the

 Communist Party.

        36.     When I sought re-election in 2012, one of my opponents (and his allies)

 campaigned against me using the label “atheist.” That strategy backfired, apparently. To wit, I

 did not put up a single yard sign, and knocked very few doors, yet still beat that opponent (who

 had signs all over town) by a significant margin.

        37.     Roosevelt Park (both precincts) is considered a “bellwether” for Muskegon

 County as a whole. I am fairly confident that I am not alone in taking notice that running as a


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 reform, anti-corruption, candidate, can (and ought to be) be successful, even if one’s opponent

 uses the label “atheist” as a vector of attack. The tactic of candidates bamboozling voters by

 wrapping themselves cynically in the flag, and beating the Bible, has worked a little too

 effectively in the past. But the experience in Roosevelt Park is a strong signal that a critical

 mass of voters are getting smarter – and today can see through the flag-and-Bible smokescreen,

 and vote against candidates cynically attempting to pander to them in that way.

         38.     Take note of this, too. In 2011, MLive (the Muskegon Chronicle) published an

 editorial, opining that “there should be no debate” about a government-proclaimed “National

 Day of Prayer” – which is something of an odd and unexpected stance for a journalistic business

 that relies on the First Amendment every day, to take. In 2015, I am pretty confident that I was

 not the only person to take note of an informal poll conducted also by MLive, in which readers

 were given four (4) options – (1) the government staying out of the religion business (proclaim

 neither National Day of Prayer, nor National Day of Reason) altogether; (2) NDOP only; (3)

 Reason only; or (4) Both. The position that the 2011 editorial advocated – NDOP only –

 received only 30% of the vote. (Incidentally, this mirrors the popular vote in the election of

 1800, in which the purportedly “religious” incumbent, Adams, lost handily to Jefferson, after

 Jefferson war relentlessly attacked as an “atheist” and “godless.” So take heed; voters are

 smarter than some politicians think – and have been smarter for generations, when an honest

 debate is joined.).

         39.     Thus, earlier this year, in Muskegon County, people overwhelmingly supported

 the government staying out of religious matters. The conversation is, obviously, changing

 dramatically from where it was in 2011. Without expecting or intending to do so (really, I

 thought the conversation in Roosevelt Park would be short and not very controversial), I have

 become one of the leading catalysts (but hardly the only one) of a sea-change in local public




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 opinion about religious diversity. And this is a good thing. This positive change is long

 overdue.

        40.     I do not know for certain whether anything supernatural does or does not exist, or

 whether there is or is not any afterlife. This is a statement about knowledge (gnosis) or lack

 thereof, not about belief – and, technically, makes me “agnostic.” This is not unusual, because

 most theists (people who believe in one or more supernatural gods) also are agnostics, because

 their belief is a belief – nobody has actual knowledge of whether the premise that anything

 supernatural exists, is or is not true. It is important, in order to think clearly, not to get mixed up

 about the concepts of gnosis, and theism, because they are separate and distinct.

        41.     As for theism, I am not presently aware of any evidence (let alone persuasive

 evidence) favoring any belief in the supernatural or any afterlife – but I always am more than

 willing to keep an open mind, if anyone can come forward with evidence to support such a

 belief. What I believe is a deeply personal matter, and I don’t think it is really anybody else’s

 business. But it tends to get made into an issue, during elections – so better to state this

 information clearly up front, rather than permitting one or more opponents to distort the issues

 by propagatin misinformation and distortion (which, although unsuccessful, obviously has

 occurred in the past). Most importantly, consistent with the First Amendment, I emphatically

 support respect and encourage other people to form their own opinions, even if their beliefs

 about God or the supernatural, differ from mine. That’s perfectly okay, in my view. Under the

 United States and Michigan constitutions, everyone (including me) ought to enjoy an individual

 freedom of thought and conscience. My place is to respect the rigts of everyone, equally –

 whether they are Christian, Hindu, Sikh, Muslim, atheist, or enjoy any other point of view – to

 make up their own minds for themselves, not to insist that they conform their beliefs to mine on

 threat of retaliation. The difference between persuasion, and compulsion, is really a large




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 matter. And on matters of thought and conscience, compulsion and coercion, have no place in a

 civilized society. The government, in particular, needs to stay neutral and out of the debate.

        42.     There is a common misunderstanding about people who are not religious

 believers – that they purportedly are amoral or even immoral. I have yet to meet a self-identified

 “agnostic” or “atheist,” who does not take questions of morality and ethics very seriously.

 Indeed, it is worth noting how few atheists ever wind up in prison for committing crimes.

 According to statistics reported by the Federal Bureau of Prisons, under the Freedom of

 Information Act, to requestor Hemant Mehta, less than 0.07% of inmates in federal prisons are

 atheists. This is much lower than the prevalence of self-identified atheists in the American

 population as a whole.           See http://www.patheos.com/blogs/friendlyatheist/2013/07/16/

 what-percentage-of-prisoners-are-atheists-its-a-lot-smaller-than-we-ever-imagined/ .

        43.     With or without religious belief, most people tend to be moral or ethical, and to

 take issues of ethics and morality seriously.     Anyone wishing to understand better how a

 religious unbeliever thinks about and analyzes questions of morality and ethics, should consider

 reading Michael Shermer’s recent book, THE MORAL ARC: HOW SCIENCE              AND   REASON LEAD

 HUMANITY TOWARD TRUTH, JUSTICE,           AND   FREEDOM (Holt & Co. 2015), or watching the

 excellent series JUSTICE: WHAT’S    THE   RIGHT THING   TO   DO, with Harvard Professor Michael

 Sandel. See < http://www.justiceharvard.org/ >. The work of Emmanuel Kant, and John Rawls,

 covered in the Sandel television series, both are worth studying in greater depth.

        44.     Contrariwise, as reported in professor Robert Altemeyer’s book THE

 AUTHORITARIANS, < http://members.shaw.ca/jeanaltemeyer/drbob/TheAuthoritarians.pdf >, not

 all self-reported religious believers, actually are religious or moral. Moreover, those who are

 deceptive about claiming to have religious belief, tend to be some of the most dangerous and

 amoral people in society. In this sense, at least, mere public profession of religiosity, is a

 terribly unreliable indicator of whether someone actually is moral or trustworthy. And religious


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 conversion is not a reliable way of transforming pathological people, into well-behaved and

 moral people. These observations, too, are backed up by empirical studies.

        45.     It is perhaps not by accident that former White House counsel, John W. Dean, III,

 who served under President Richard Nixon, found Dr. Altemeyer’s work on authoritarian

 personalities (including the role of organized religion in bringing together authoritarian leaders

 and followers – who have distinctly different personality types) so informative, when Dean was

 writing CONSERVATIVES WITHOUT CONSCIENCE (Viking Press 2006).

        46.     It is also perhaps not by accident that another member of the local party

 Executive Committee, with whom I get along reasonably well, and who I consider a friend,

 Pastor Tim Cross, not only scored exceptionally high on the Altemeyer Authoritarianism Scale,

 when it was informally administered, but was apparently quite pleased with himself to have done

 so. I’m not so sure that this ought to be considered a badge of pride. What evidence do high-

 scorers have, to support that any of the opinions typically held by authoritarian personalities,

 actually have any basis in reality, rather than imagination?

        47.     I have been an attorney since 1993, and I am an honors graduate of Michigan Law

 School.

        48.     I clerked for the Hon. John Cornyn, a Republican judge, elected in a partisan

 election to the Supreme Court of Texas – before John Cornyn ran for Attorney General of Texas,

 and later for the U.S. Senate. Some years later, when Cornyn was Attorney General of Texas, I

 was offered a job in the AG’s office, but I elected to open a law office in Ann Arbor, Michigan,

 instead.

        49.     I also spent a year working in Houston and Victoria, Texas, for the Hon. John D.

 Rainey, who was appointed to the bench by the forty-first President, George H.W. Bush.

        50.     I spent a summer in Washington, D.C., back in college, as a paid intern in the

 office of Guy Vander Jagt, then a Member of Congress, from western Michigan.


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        51.     I am not hostile to Republicans, in any way, especially when it comes to personal

 relations with individuals – and I recently have hired attorneys who belong to the Republican

 Party, to perform legal services in various capacities.

        52.     Nonetheless, some local Republicans reportedly hate my guts. Kevin Even, for

 instance, the local county chair, was kind enough to express his personal feelings about me on

 the record, in a deposition taken of Sam St Amour (the Fruitland Township Supervisor). I do not

 approve of some of Mr. Even’s actions – such as filing an unwise lawsuit against every

 municipality participating in the White Lake Ambulance Authority, that needlessly cost

 taxpayers a lot of money – but I don’t harbor feelings other than indifference toward Kevin,

 personally.

        53.     Douglas McKibben, also on the Executive Committee of the local party, and who

 I like personally, reportedly has expressed some very strong negative emotions about my efforts

 to gradually move from ubiquitous Christian privilege in the local community, toward equality

 and inclusion of all perspectives (including Christian).

        54.     I think it is fair to say that the authoritarian dynamic referenced by John Dean and

 Robert Altemeyer, plays a large and significant role in why the Republican Party today, in west

 Michigan, is not the same as the Republican Party to which my grandfather belonged, when he

 served as Muskegon County Prosecutor, and later as a circuit court judge (he was appointed to

 the circuit court by Governor Milliken, when Hon. James Schoener departed for Washington in

 1974 to serve as chief minority counsel on the Senate’s post-Watergate Committee on Privileges

 and Elections).1    At least in my personal opinion, we could use some more old-school

 practically-minded, problem-solving Republicans in this County – instead of the mean,

 authoritarian, flag-and-Bible pandering type.



 1
  http://www.mlive.com/news/muskegon/index.ssf/2013/06/larger-than-life_muskegon_judg.html


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        55.      I have been a member of the Democratic Party for many years, because the

 principles of the Democratic Party are more in line with my own principles, than are some of the

 behaviors I have observed from no small number of self-identified Republicans over the last two

 decades or more. There is no law against being either a Democrat, or a nonbeliever. There is

 nothing wrong with reasonably expressing these points of view in a public way. It is also okay

 to make the opposite case – and to advocate for religious beliefs, if one has a persuasive case to

 make. What is not okay is to retaliate and inflict harm (directly or indirectly) in sneaky,

 underhanded, ways, against someone expressing views in public with which religious

 “conservatives” happen to disagree. We can have an honest debate, on the merits. That’s what

 people of character do.

        56.      I view it as a compliment that one of the members of the clergy at the public

 forum I attended in Grand Haven relating to the recent Dewey Hill Cross controversy (I was a

 bystander and observer in this controversy; I did not play a role in either the FOIA requests, or

 the requests for removal, or in any courtroom proceedings) not only recognized me on sight, but

 paid me the compliment that I “speak as one with authority” – presumably a reference to

 MATTHEW 7:29 – even though I am the last person in the world to be deserving of such flattery.

        57.      As several Grand Haven clergy were the first to point out, the Dewey Hill Cross

 episode revealed some things that religious leaders did not realize about their “Christian”

 congregations – most prominently, that west Michigan has a lot of people who self-identify as

 “Christian,” but who do not act in a very Christ-like way, toward people who do not self-identify

 the same way.

        58.      When it comes to political party, my over-riding and paramount interest is not

 about either party, but is about advocacy for good government, transparency, accountability, the

 Rule of Law, and rooting out corruption. This probably helps some people who otherwise would

 have difficulty understanding, make sense of why I am a relentless critic of the Obama


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 Administration’s policies on warrantless surveillance, attacking whistleblowers, failing to

 prosecute more bankers after the 2008 financial collapse, prolonging the Guantanamo detentions

 (including the force-feeding of detainees on hunger strike), and other matters. I have the

 independence of judgment and fairness of mind to recognize that neither party is a perfect match

 for my principles; but I do tend to support the one that most forcefully advocates for issues like

 good government that I hold dear.

        59.     And good-government issues like transparency and accountability, in my view, do

 not belong to one party or the other, inherently. They are issues that everyone should favor, on a

 non-partisan basis.

        60.     On the subject of how Republicans and Democrats get along, I thought I had very

 good and friendly relations with Vicki Broge (who is perhaps known to the Probate Court,

 although not on the payroll), until she apparently realized abruptly that I am not myself a

 Republican. I was, and remain, puzzled at how hostile she suddenly became. People are people,

 and we can get along like reasonable people, regardless of party affiliation or viewpoint.

        61.     The warrantless search of my house (on threat of contempt) – and the actions of

 Ms. Broge appointing herself to act in a capacity she was not professionally qualified to assume

 – just prior to the 2014 election (when Republicans were growing apprehensive that

 gubernatorial candidate Schauer might be appointing judges – even pro-choice judges – in

 Muskegon County), was not consistent with law, exhibited profound, partisan, bias, was just

 plain wrong, and ought to be redressed without further delay.

        62.     It also emphatically is not okay – for instance – to take actions such as the actions

 taken by Monica Goodling against Grand Rapids AUSA Leslie Hagen and U.S. Attorney

 Margaret Chiara, or the adverse personnel actions taken by Calvin College against Professors

 John Schneider, Dan Harlow, and others – out of what amounts to right-wing and religious

 “political correctness” by Republicans and some sectarian (Republican-aligned) religious


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 denominations. It is not okay for religiously conservative Republicans (and “moderate” pro-life

 Democrats like Judge Mullally) to attempt to use my mother, Martha Grimm, as political

 leverage, due to civil and reasoned disagreement over one or more controversial subjects.

        63.     It is not okay to sell my mother’s house at a steep discount and to impose a

 financial loss on her, in order either to enrich well-connected “good old boys” at the protected

 Individuals’s expense, or to send a message to me about how powerful some people are, and how

 we ought all to be on our knees, obedient, to a clique of human beings who purport self-

 servingly to act in “God’s” name.

        64.     It is not okay to keep a multitude of County workers, licensed attorneys, and

 others, in attendance at an extended dance-mix “investiture” ceremony, in order for a religious

 patriarch to lecture them about one particular religious perspective, somehow trumping the

 Constitution and laws of the State of Michigan and of the United States.

        65.     My recent and nominally amicable departure from the WILLIAMS | HUGHES law

 firm, is presently under investigation with the Michigan Department of Civil Rights. Notably, I

 never handled any business on behalf of firm clients (as opposed to the Protected Individual, my

 mom) before Judge Pittman.

        66.     It has been puzzling to me why the firm – which had initiated a discussion about

 how much to increase my compensation (which was long overdue; they had essentially

 subsidized themselves through a “rough time” following Shon Cook’s departure, by expressing

 their gratitude that I was bringing in more revenue than three other attorneys, combined – but not

 in a way that actually increased my take-home compensation) – would suddenly, and abruptly,

 make an about-face – without any explanation as to why they acted as they did.

        67.     The MDCR, however, has disclosed that immediately before the abrupt change, a

 telephone call was placed from the county building by one of the local judges.




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        68.     And the reported call by the judge coincided very closely with two events (neither

 of which involved any misconduct, or anything other than appropriate prudence on my part).

 First, the day before the events in question, I sent document preservation communications to PW

 Services, Hal Hermanson, Mike Walsh, and others. This was entirely reasonable, so as to

 prevent spoliation. Second, my brother hired the VARNUM law firm to make sure a record was

 made for purposes of a valid appeal, and I hired WARNER NORCROSS, for the same purpose.

 Every attorney in Muskegon, apparently is aware of (and most are afraid to challenge) the

 shenanigans happening not only in this case, in the Probate Court. The thought was that out-of-

 town counsel might be more willing to make sure that a proper record was made, rather than

 “playing along” with the record-rigging that I had observed in prior hearings.

        69.     I do not presently know for sure which judge made the call. But, that was a grave

 mistake. Because calling my employer like that, happens not to be a judicial action; it is a

 personnel action. And it is not shielded by absolute judicial immunity. Since it involves the use

 of judicial office, to achieve unlawful ends, it does constitute action “under color of state law,”

 and thus triggers likely civil rights liability under 42 U.S.C. § 1983.

        70.     On Wednesday, November 18, 2015, I learned for the first time from attorney Jon

 Hoogstra, that Hon. Neil G. Mullally intends not to retire early, and therefore Governor Snyder

 will not be appointing somebody to run – with an “incumbent” designation – for Judge

 Mullally’s seat on the Muskegon County Probate Court in 2016.

        71.     I contacted Judge Mullally the following day, November 19, 2015, and received

 written confirmation from Judge Mullally, that he presently intends to serve out his whole term.

        72.     I emphatically did not return to Muskegon County for the purpose or with any

 intention of seeking judicial office – and especially not with any purpose to “ride the coat-tails”

 of any relatives. I returned to Muskegon County out of a sense of duty, because my father was

 in treatment for lung cancer, and because his elderly mother could not take care of herself.


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        73.     Since learning that Judge Mullally will be serving out his whole term, and now

 that I have become aware of the urgent need for reform on the Muskegon County Probate Court,

 it is again out of a sense of duty that I intend to run in 2016 for a Probate court seat.

        74.     Given the track record of the improper use of my mother as essentially a political

 pawn, in an effort to gain leverage over me, by people who would prefer as few perceived “pro-

 choice” candidates (in actuality, I’m a Rule of Law, reform and good government candidate –

 the Casey issue is not for any probate court judge at the state level to decide, and is unlikely ever

 to come in front of me or any other state court judge), running for judicial office (and Heaven

 forbid one of them get elected or appointed) as possible, it only makes sense to get the politics

 and subterfuge out of Martha Grimm’s case entirely – and to start focusing on her best interest,

 rather than improper and extra-legal partisan gamesmanship.

 FURTHER AFFIANT SAYETH NOT.


                                                                        Eric C. Grimm

        Subscribed and sworn to before me this __ day of December, 2015.


 _____________________
 Notary Public

 Acting in:

 My commission expires:




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